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                                   UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF LOUISIANA

       Stanley P. Baudin                              )
                                                      )   Case No. 18-1063
                      Plaintiff,                      )
                                                      )   JUDGE SHELLY DICK
                v.                                    )
                                                      )   MAGISTRATE JUDGE
       AstraZeneca Pharmaceuticals LP;                )   ERIN WILDER-DOOMES
       AstraZeneca LP; and Merck Sharp &              )
       Dohme Corporation                              )
                                                      )
                      Defendants.                     )


MOTION TO STRIKE REPORTS AND TESTIMONY OF DR. PATRICIA MJØNES, OR
      IN THE ALTERNATIVE, TO REDEPOSE DR. PATRICIA MJØNES

       NOW INTO COURT, through undersigned counsel come Defendants, AstraZeneca

Pharmaceuticals LP, AstraZeneca LP, and Merck Sharp & Dohme Corporation (collectively

“AstraZeneca”), which respectfully move to strike the report and testimony of Plaintiff’s late-

disclosed expert Dr. Patricia Mjønes or, alternatively, to continue Dr. Mjønes’ deposition after

submission of a proper expert report under Federal Rules of Civil Procedure 16(f)(1)(C), 26(a)(2),

and 37(c)(1).

       The Court should strike the reports and testimony of Dr. Mjønes because Plaintiff Stanley

Baudin failed to timely disclose Dr. Mjønes as a retained testifying expert until three months after

this Court’s deadline for doing so by serving an Amended Designation of Expert purporting to

designate her as a testifying expert while at the same time stating she will not appear live at trial

and will instead impermissibly testify by video deposition. Additionally, Plaintiff failed to initially

submit, and still has not submitted, an expert report from Dr. Mjønes that complies with Rule

26(a)(2)(B). Further, Plaintiff’s counsel treated Dr. Mjønes as a testifying expert at her deposition




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despite failing to disclose her as one and elicited opinions outside the scope of her pathology report

at her deposition.

       Rule 37(c)(1) provides that the remedy for Plaintiff’s violation of his Rule 26 expert

disclosure obligations is that he “is not allowed to use that information or witness to supply

evidence on a motion, at a hearing, or at a trial, unless the failure was substantially justified or is

harmless.” Plaintiff’s failure was neither. There can be no justification for Plaintiff’s failure to

disclose his intention to call Dr. Mjønes as a testifying expert by this Court’s deadline for doing

so. Nor can there be any justification for Plaintiff’s waiting to identify Dr. Mjønes as a testifying

expert until after her deposition despite Defendants’ requests before then that Plaintiff clarify her

status. Additionally, Defendants will be prejudiced if Plaintiff is permitted to use Dr. Mjønes’

expert testimony at trial. For these reasons and the reasons set forth in the accompanying

memorandum in support, the Court should strike the reports and testimony of Dr. Mjønes.

                                               Respectfully submitted,

                                               ADAMS AND REESE LLP


                                               s/ Diana Cole Surprenant
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                                               Attorneys for Defendants,
                                               AstraZeneca Pharmaceuticals LP, AstraZeneca
                                               LP, and Merck Sharp & Dohme Corporation




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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on April 27, 2022, I electronically filed the foregoing with the
Clerk of Court by using the CM/ECF system which will send a notice of electronic filing to all
CM/ECF participants.

                                           s/ Diana Cole Surprenant
                                           DIANA COLE SURPRENANT




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